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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

FORD MOTOR CREDIT COMPANY LLC,                       §
     Plaintiff,                                      §
                                                     §
v.                                                   §
                                                     §      Civil Action No.: 5:18-cv-00186
BART REAGOR AND RICK DYKES,                          §
     Defendants.                                     §


                  PLAINTIFF FORD MOTOR CREDIT COMPANY LLC’S
                               MOTIONS IN LIMINE

         Plaintiff Ford Motor Credit Company LLC (“Ford Credit”) brings these motions in limine

seeking an order prohibiting Defendant Reagor, and his respective attorneys and witnesses, from

making any reference, mention, statement, suggestion, or allusion to, giving any testimony or

arguments concerning, or offering or introducing any exhibits at trial concerning any of the

following:

Motion in Limine No. 1 − “Commercial Reasonableness” of Ford Credit’s Disposal of
Collateral from the Reagor-Dykes Dealerships

         The Court should exclude any evidence or reference (either during trial or in the jury

instructions) to the “commercial reasonableness” of Ford Credit’s disposal of collateral previously

held by the Reagor-Dykes Dealerships - an issue that Defendant Reagor has attempted to raise for

the first time in his filings on September 13, 2019 (Dkt. 71). As set forth below, Defendant

Reagor’s breach of his unambiguous guaranties has been established, and liability-related issues,

including Ford Credit’s process for disposing of its secured collateral, are of no consequence or

relevance to the jury’s determination of the damages that Ford Credit is entitled to recover from

Defendant Reagor. And, in any event, Defendant Reagor waived any argument based on Ford




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Credit’s disposal of its secured collateral by failing to timely raise it as an affirmative defense. See

Dkt. 23, 40, 50.

       On May 24, 2019, this Court granted Ford Credit’s motion for summary judgment “for

essentially the reasons argued in the well-reasoned and thorough briefing presented by [Ford

Credit].” Dkt. 48. Specifically, the Court overruled Defendant Reagor’s objections to the

summary judgment evidence presented by Ford Credit, finding that the terms of Defendant

Reagor’s personal guaranties to Ford Credit were “clear and unambiguous,” and that multiple

defaults had occurred. Id. The Court also held that “no properly pleaded affirmative defense”

created a “genuine issue of material fact preventing the entry of judgment.” Id.

       In its order on Ford Credit’s summary judgment motion, the Court determined that

Defendant Reagor is obligated to repay for Credit “all of the [Reagor-Dykes Dealerships’]

obligations … including interests, costs, and attorneys’ fees.” Id. The Court’s summary judgment

order also directed Ford Credit to submit an amended proposed judgment to account for the

passage of time from the date its motion was filed. See id. The Court permitted Defendant Reagor

to submit his objection, if any, to the “sums or calculations contained in Ford Credit’s amended

proposed judgment.” Id. None of Defendant Reagor’s objections challenged, let alone alluded to,

the means, manner, or “commercial reasonableness” of Ford Credit’s disposition of the collateral

previously held by the Reagor-Dykes Dealerships.           Dkt. 50. Accordingly, the only issues

remaining for trial in this action are the “sums or calculations” of all amounts constituting the

damages Ford Credit is entitled to recover from Defendant Reagor, so that a “properly calculated”

judgment may be entered against him.

       On September 13, 2019, however, Defendant Reagor filed his Proposed Jury Instructions

and Charge of Court, which purport to raise – for the first time – a defense that Ford Credit did not



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dispose of collateral previously held by the Reagor-Dykes Dealerships in a “commercially

reasonable” manner. See Dkt. 71. By belatedly attempting to inject the issue of “commercial

reasonableness” into the upcoming trial, Defendant Reagor is attempting to re-litigate liability

issues and this Court’s order granting Ford Credit’s motion for summary judgment.

        But liability issues, including the “commercial reasonableness” of Ford Credit’s collateral

disposal, are of no consequence in determining Ford Credit’s “properly calculated” judgment – the

only issue remaining for trial. Accordingly, any testimony, evidence, or reference is irrelevant,

inadmissible, and should not be submitted to the jury. See Fed. R. Evid. 401(b), 402; see generally

N.J. Collins, Inc. v. Pac. Leasing, Inc., 1999 WL 681393, at *1 (E.D. La. Aug. 31, 1999) (holding

that when a defendant’s liability for breach of contract is established, evidence offered to disprove

the defendant’s liability is precluded at trial).

        Testimony and evidence Defendant Reagor may wish to offer in support of his newly-

minted ‘commercial reasonableness” defense is also irrelevant because Defendant Reagor has

waived any such defense. A defense based on the commercial reasonableness of a lender’s

disposal of collateral is an affirmative defense that must be pleaded in a defendant’s answer. See

generally FDIC v. Blanton, 918 F.2d 524, 527 n.2 (5th Cir. 1990); Ingraham v. U.S., 808 F.2d

1075, 1078 (5th Cir. 1987); Fed. R. Civ. Pro. 8(c). Failure to raise an affirmative defense in a

responsive pleading results in its forfeiture unless it is raised by the defendant at a “pragmatically

sufficient time,” such that the plaintiff is afforded sufficient notice to prepare and contest the

defense and “is not prejudiced in its ability to respond.” See NewCSI, Inc. v. Staffing 360 Solutions,

Inc., 865 F.3d 251, 259 (5th Cir. 2017).

        Defendant Reagor’s raising the issue of “commercial reasonableness” a mere 17 days

before trial, and without identifying any supporting evidence or expert testimony, fails that test.



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See Radio Networks, LLC v. Baisden Enterprises, Inc., 2017 WL 6759943, at *6 (N.D. Tex. Dec.

29, 2017) (a defendant is not entitled to a jury instruction on a particular defense where it can

identify no evidence to support it). Preclusion is therefore warranted, and any other result would

unduly prejudice Ford Credit.

        If Defendant Reagor intended to raise the issue of “commercial reasonableness” with

respect to Ford Credit’s disposal of collateral from the Reagor-Dykes Dealerships, it was

incumbent on him to do so as an affirmative defense in his answer (Dkt. 23), in response to Ford

Credit’s motion for summary judgment (Dkt. 40), or, at a minimum, in his filed objections to Ford

Credit’s proposed amended judgment (Dkt. 50). He did none of these.

        Even after Defendant Reagor received notice that Ford Credit was liquidating its secured

collateral from the Reagor-Dykes Dealerships, he never objected to the method of disposal. After

months of silence on the issue, Defendant Reagor has waived any “commercial reasonableness”

defense, and any argument that Ford Credit must prove at trial that it disposed of collateral in a

“commercially reasonable” manner in order to recover any judgment against him. Sew NewCSI,

Inc., 865 F.3d at 259.1

        At a minimum, evidence concerning “commercial reasonableness” must be excluded as

unfairly prejudicial to Ford Credit, inherently confusing, and misleading to the jury. See Fed. R.

Evid. 403. Defendant Reagor’s proposed jury instructions (Dkt. 71) demonstrate how evidence on

“commercial reasonableness” will serve only to confuse and mislead, and its prejudicial effect on

Ford Credit’s efforts to establish its properly-calculated damages outweighs any probative value.




1        Defendant Reagor’s argument that the commercially reasonable disposal of collateral is a requirement that
cannot be waived, conflates the statutory the requirements of Texas’ Uniform Commercial Code with his pleading
obligations under Rule 8(c). The cases he cites in support of this argument did not address a situation where the
affirmative defense of “commercial reasonableness” was waived by a failure to plead, and are inapposite.

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        Specifically, Defendant Reagor proposes instructions which suggest that the jury can deny

judgment to Ford Credit if it did not dispose of collateral in a “commercially reasonable” manner.

See Dkt. 71. The instruction misstates Texas law, which provides that even if a creditor fails to

dispose of collateral in a “commercially reasonable” manner, that failure does not automatically

preclude the creditor from recovering its deficiency. See Tex. Bus. & Com. Code § 9.626(a)(3).

Rather, it may reduce the amount of that recovery by the amount that the creditor would have

realized had it disposed of the collateral in a “commercially reasonable” manner (see Tex. Bus. &

Com. Code § 9.626(a)(3)(B)), but only where the defendant has raised this issue as an affirmative

defense and produced supporting proof – neither of which Defendant Reagor has done in this case.

        Because Defendant Reagor failed to timely raise, and has therefore waived, any defense

based on Ford Credit’s disposal of its secured collateral,2 and because the “commercial

reasonableness” of that disposal is wholly irrelevant to the proper calculation of the damages Ford

Credit is entitled to recover, Defendant Reagor should be precluded from offering any evidence

on the issue.

Motion in Limine No. 2 − June 30, 2017 Email from Ford Credit Employee Gwen Schmucker

        Ford Credit requests that the Court exclude any evidence, testimony, or reference to an

email from Gwen Schmucker dated June 30, 2017 re: Corrected Reagor Dykes Audit Results 6/27-

28 with attached reports (the “E-mail”) because it is irrelevant, confusing, misleading and

inadmissible hearsay. Defendant Reagor’s belated designation of this E-mail as an expected trial

exhibit (Dkt. 70) suggests another improper attempt to re-litigate liability issues at trial. These

allegations were the focus of both Defendant Reagor’s attempt to delay consideration of Ford




2       Ford Credit denies that any collateral was disposed of in other than a “commercially reasonable” manner,
and Defendant Reagor has not disclosed any evidence to the contrary, nor any witness that will opine to the contrary.

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Credit’s motion for summary judgment and his opposition to Ford Credit’s motion for summary

judgment (see Dkt. 33, 40). And they have already been rejected by this Court (Dkt. 48).

       The specific E-mail attached to Defendant Reagor’s “Supplemental” Rule 26 disclosure

refers to audit results for the Reagor-Dykes Dealerships in June 2018. Audit results from the

Reagor-Dykes Dealerships are, however, wholly irrelevant to the damages Ford Credit is entitled

to recover from Defendant Reagor − the only matter at issue for trial. As set forth above,

Defendant Reagor’s liability to Ford Credit pursuant to his unambiguous personal guaranties was

established by this Court in its order granting Ford Credit’s summary judgment motion.

       The E-mail, and any other evidence or testimony concerning liability-related allegations

against Ford Credit and/or its employees that Defendant Reagor now seemingly intends to dredge

up at trial (see Motion in Limine 3, below), are of no consequence in determining the sole

remaining issue in this action − the damages that Ford Credit is entitled to recover from Defendant

Reagor. Therefore, the E-mail, and any other evidence or testimony concerning liability issues, is

inadmissible pursuant to Federal Rules of Evidence 401 and 402.

       Moreover, such evidence should be excluded as unfairly prejudicial to Ford Credit,

inherently confusing, and misleading to the jury. See Fed. R. Evid. 403. Specifically, the E-mail

and liability-related evidence, to the extent they go to any issue at all, go only to the already-

decided issue of liability (which this Court resolved in favor of Ford Credit), and are without any

probative value as to the jury’s “proper calculation” of Ford Credit’s damages.

       Finally, the E-mail is inadmissible hearsay. The E-mail is an out-of-court statement that

Defendant Reagor apparently intends to offer for the truth of the matter asserted (see Fed. R. Evid.

801(c)), does not pertain to any issue to be decided at trial, and is not subject to any hearsay




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exception (see Fed. R. Evid. 803). See Network Multifamily Sec. Corp. v. Homes for Am. Holdings,

Inc., 2012 WL 13093946, at *4 (N.D. Tex. (Aug. 29, 2012).

Motion in Limine No. 3 − Evidence Concerning Ford Credit Employee Gary Byrd

       Ford Credit requests that the Court exclude any evidence, testimony, or reference at trial

to allegations Defendant Reagor has previously raised concerning Ford Credit employee Gary

Byrd, or any similar allegations, because they are irrelevant, their prejudicial effect outweighs any

probative value, and they are both baseless and flatly contradicted by the results of the FBI’s

criminal investigation of the Reagor-Dykes Dealerships.

       In his motion to delay summary judgment, and in his opposition to Ford Credit’s summary

judgment, Defendant Reagor made baseless and speculative allegations of misconduct against Mr.

Byrd in an attempt to avoid Defendant Reagor’s own liability for losses suffered by Ford Credit

as a result of the fraud perpetrated at the Reagor-Dykes Dealerships. Dkt. 33, 40. This Court

concluded that such baseless allegations provided no basis to delay or deny judgment to Ford

Credit. Dkt. 48. Therefore, any evidence, testimony, or reference to Gary Byrd that Defendant

Reagor may attempt to offer at trial is of no consequence to Ford Credit’s “properly calculated

damages,” and is irrelevant and inadmissible. Fed. R. Evid. 401(b), 402.

       Even if Defendant Reagor could argue the relevance of any testimony, evidence, or

reference to Gary Byrd (he cannot), the prejudicial effect that permitting such evidence, testimony,

or reference would have on Ford Credit’s efforts to establish its damages claim outweighs any

probative value Defendant Reagor may attempt to ascribe to his baseless allegations.

       The FBI’s criminal investigation of the Reagor-Dykes Dealerships, and the guilty plea from

the dealerships’ CFO, have confirmed that Ford Credit was the primary victim of the Reagor-

Dykes Dealerships’ floorplan financing fraud. See USA v. Smith, Case No. 2:19-cv-079-D-BR,



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Dkt. 11. Neither Gary Byrd, nor any of Ford Credit’s other employees, caused or contributed to

the fraudulent conduct at the Reagor-Dykes Dealerships. See id.

       At best, Defendant Reagor’s disproven allegations concerning Gary Byrd (or any similar

allegations against any other Ford Credit employee) are strictly speculative, lack any rational basis

in fact, and are incapable of rising to the standard for admissibility. Fed. R. Evid. 701; see

DataTreasury Corp. v. Wells Fargo & Co., 2010 WL 11538713, at *14 (E.D. Tex. Feb. 26, 2010)

(granting motion in limine and excluding speculative evidence that risked unfairly engendering

hostility towards one party). Based on the foregoing, Defendant Reagor should be barred from

any insinuation at trial that Gary Byrd, or any other Ford Credit employee, was in any way involved

or implicated in the fraudulent conduct that occurred at the Reagor-Dykes Dealerships.

                                         CONCLUSION

       Based on the foregoing, Ford Credit respectfully submits that any evidence, testimony, or

reference to: (1) the “commercial reasonableness” of Ford Credit’s disposal of collateral from the

Reagor-Dykes Dealerships; (2) the “E-mail” and other liability-related evidence; and (3) Gary

Byrd must be precluded at trial.

 Respectfully submitted,
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                            CERTIFICATE OF CONFERENCE

       I certify that counsel for Defendant Bart Reagor and counsel for Plaintiff Ford Motor Credit

Company LLC conferred in good faith on September 19, 2019 with respect to the requests for

relief in the foregoing Motions in Limine. Defendant Bart Reagor, is opposed to the relief sought

therein.



                                             /s/ Michael S. Goldberg
                                             Michael S. Goldberg




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                                CERTIFICATE OF SERVICE

       I certify that on September 19, 2019, I served this document by the Electronic Case Filing

System for the United States District Court for the Northern District of Texas.


                                                     /s/ Michael S. Goldberg
                                                     Michael S. Goldberg




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